
447 S.E.2d 407 (1994)
336 N.C. 612
STATE of North Carolina
v.
Bill JONES, Jr.
No. 188P94.
Supreme Court of North Carolina.
June 16, 1994.
Janine M. Crawley, Asst. Appellate Defender, Malcolm Ray Hunter, Jr., Appellate Defender, for Jones.
Isham B. Hudson, Jr., Sr. Deputy Atty. Gen., Horace M. Kimel, Jr., Dist. Atty., for State.
Prior report: 110 N.C.App. 169, 429 S.E.2d 597.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th day of June 1994."
